             Case 2:24-cv-01626-RSM          Document 11        Filed 11/06/24           Page 1 of 3




 1                                                                                  Hon. Ricardo S. Martinez

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 6                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 7                                          AT SEATTLE
 8
     JOSEPH SANT, MERTON CHUN,                           Case No. 2:24-cv-1626 RSM
 9   RONESHA SMITH, and HEATHER
     NICASTRO, individually and on behalf of all         STIPULATED MOTION TO EXTEND
10   others similarly situated                           DEADLINE TO RESPOND TO
                                                         COMPLAINT AND SET BRIEFING
11                  Plaintiffs,                          SCHEDULE
12           vs.

13   ROCKETREACH LLC,

14                  Defendant.

15

16                                              STIPULATION

17           WHEREAS, Plaintiffs Joseph Sant, Merton Chun, Ronesha Smith, and Heather Nicastro

18   (collectively, “Plaintiffs”) filed Case No. 2:24-cv-1626 against RocketReach LLC (“Defendant”)

19   on October 8, 2024;

20           WHEREAS, Defendant was served with Plaintiffs’ Complaint on October 23, 2024;

21           WHEREAS, Defendant’s deadline to respond to Plaintiffs’ Complaint is November 13,

22   2024;

23           WHEREAS, Defendant recently retained counsel, and to provide Defendant sufficient time

24   to respond, the parties have agreed, subject to Court approval, to an extension of time to respond;

25           THEREFORE, Plaintiffs and Defendant hereby STIPULATE AND AGREE to extend the

26   deadline for Defendant to answer or otherwise respond to the Complaint to December 28, 2024.

27

      STIPULATED MOTION TO EXTEND DEADLINE TO                      WILSON, ELSER, MOSKOWITZ,
      RESPOND TO COMPLAINT AND SET BRIEFING                           EDELMAN & DICKER LLP
                                                                     520 PIKE STREET, SUITE 2350
      SCHEDULE - 1                                                        SEATTLE, WA 98101
      Case No. 2:24-cv-1626                                   (206) 709-5900 (MAIN) / (206) 709-5901 (FAX)
            Case 2:24-cv-01626-RSM            Document 11        Filed 11/06/24           Page 2 of 3




 1   This stipulation shall not operate as an admission of any factual allegation or legal conclusion, nor

 2   shall it operate as a waiver or otherwise affect any right, defense, claim or objection by any party.

 3          In the event Defendant files a response by motion, the parties further agree to extend the

 4   response and reply deadlines as follows. The deadline for Plaintiffs’ response to Defendant’s

 5   motion shall be February 11, 2025; and the deadline for Defendant’s reply shall be March 13, 2025

 6          Stipulated to this __ day of November, 2024.

 7
     Presented and stipulated to by:
 8
     NICK MAJOR LAW
 9

10
     By: /s/_Nick Major___________________
11   Nick Major, WSBA #49579
     450 Alaskan Way S., #200
12   Seattle, WA 98104
13   Email: nick@nickmajorlaw.com
     Of Attorneys for Plaintiffs
14
     HEDIN LLP
15
     By: /s/_Tylser K. Somes________________
16   Tyler K. Somes, Pro Hac Application Forthcoming
17   1100 15th St NW, Ste. 04-108
     Washington, D.C. 20005
18   Email: tsomes@hedinllp.com
     Of Attorneys for Plaintiffs
19

20   Stipulated to by:
21
     WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP
22

23   By: /s/ Patrick G. Lynch
     Patrick G. Lynch, WSBA #53147
24
     520 Pike St., Ste. 2350
25   Seattle, Washington 98101
     Patrick.Lynch@wilsonelser.com
26   Attorneys for RocketReach LLC.

27

      STIPULATED MOTION TO EXTEND DEADLINE TO                       WILSON, ELSER, MOSKOWITZ,
      RESPOND TO COMPLAINT AND SET BRIEFING                            EDELMAN & DICKER LLP
                                                                      520 PIKE STREET, SUITE 2350
      SCHEDULE - 2                                                         SEATTLE, WA 98101
      Case No. 2:24-cv-1626                                    (206) 709-5900 (MAIN) / (206) 709-5901 (FAX)
          Case 2:24-cv-01626-RSM           Document 11    Filed 11/06/24            Page 3 of 3




 1
                                               ORDER
 2         IT IS SO ORDERED.
 3                    6th day of November, 2024 .
           DATED this ___
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 6
                                                       A
                                                    ____________________________________
                                                    HON. RICARDO S. MARTINEZ
                                                    UNITED STATES DISTRICT JUDGE
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     STIPULATED MOTION TO EXTEND DEADLINE TO                  WILSON, ELSER, MOSKOWITZ,
     RESPOND TO COMPLAINT AND SET BRIEFING                       EDELMAN & DICKER LLP
                                                                520 PIKE STREET, SUITE 2350
     SCHEDULE - 3                                                    SEATTLE, WA 98101
     Case No. 2:24-cv-1626                               (206) 709-5900 (MAIN) / (206) 709-5901 (FAX)
